      Case 2:20-cv-09560-PD Document 22 Filed 10/26/21 Page 1 of 1 Page ID #:41



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 5

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 7
                              UNITED STATES DISTRICT COURT
 8
                             CENTRAL DISTRICT OF CALIFORNIA
 9

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11   THOMAS JAMES GARDNER,                    )     CASE No.: 2:20-cv-09560-PD
                                              )
12               Plaintiff                    )
                                              )   ORDER FOR THE AWARD OF
13    vs.                                     )   ATTORNEY FEES PURSUANT TO
                                              )   THE EQUAL ACCESS TO
14   KILOLO KIJAKAZI,                         )   JUSTICE ACT 28 U.S.C. § 2412 (d)
                                              )
15   Commissioner of Social Security          )
                                              )
16               Defendant(s).                )
                                              )
17                                            )
                                              )
18

19

20          The Court having approved the stipulation of the parties, IT IS ORDERED
21   that Plaintiff be awarded attorney fees under the Equal Access to Justice Act, 28
22
     U.S.C. § 2412(d), in the amount of ONE THOUSAND-SEVEN HUNDRED
23
     FIFTY DOLLARS AND SIXTY-FOUR CENTS ($1,750.64).
24

25
     DATE: October 26, 2021
26

27                                         ___________________________________
                                           HONORABLE PATRICIA DONAHUE
28
                                           UNITED STATES MAGISTRATE JUDGE



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